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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                  KEY WEST DIVISION

     Y. FRANCO,                   §
                                  §                 CASE NO:
                                  §
           Plaintiff,             §
                                  §
    vs.                           §
                                  §
                                  §
                                  §
    PAPA JOHN'S INTERNATIONAL, §
    INC., PAPA JOHN'S USA, INC.,  §
    PARADISE ISLANDS PIZZA,       §
    INC. d/b/a PAPA JOHN'S PIZZA, §
    and KRUEGER PIZZA             §
    MARATHON, LLC.,               §
                                  §
                                  §                    TRIAL BY JURY DEMANDED
           Defendants.            §
                                  /

                                             COMPLAINT

  TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

         COMES NOW, Plaintiff, Y. FRANCO, (“Plaintiff”) by and through her undersigned

  counsel, and complains of Defendants, PAPA JOHN’S INTERNATIONAL, INC., PAPA JOHN'S

  USA, INC., PARADISE ISLANDS PIZZA, INC. d/b/a PAPA JOHN'S PIZZA, and KRUEGER

  PIZZA MARATHON, LLC, (“Defendants”), and in filing this Complaint shows the Court as

  follows:

                                              INTRODUCTION

         Plaintiff, Y. FRANCO, was a former employee of Defendants, and this lawsuit involves

  acts of racial discrimination, national origin discrimination, assault, battery, intentional infliction

  of emotional distress (IIED), negligence, and violation of Plaintiff’s rights under 42 U.S.C. §
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  1981 and applicable state law. Plaintiff demands a jury trial in this case as to any and all issues

  triable by jury. This action seeks compensatory damages, punitive damages, lost wages (past,

  present, and future), attorney’s fees, taxable court costs, and pre-judgment and post-judgment

  interest.

                                                  PARTIES

           1. Plaintiff, Y. FRANCO, is a resident of Monroe County, Florida.

           2. Defendant, PAPA JOHN’S INTERNATIONAL, INC., does business in this jurisdiction

  and may be served with process by mail or in-person to their registered agent, THE

  CORPORATION TRUST COMPANY, 1209 Orange Street, Wilmington, New Castle, DE,

  19801.

           3. Defendant, PAPA JOHN'S USA, INC., does business in this jurisdiction and may be

  served with process by mail or in-person to their registered agent, C T CORPORATION

  SYSTEM, 334 North Senate Avenue, Indianapolis, IN, 46204.

           4. Defendant, KRUEGER PIZZA MARATHON, LLC, does business in this jurisdiction

  and may be served with process by mail or in-person to their registered agent, Ashley Krueger,

  5105 Overseas Highway, Marathon, FL 33050.

           5. Defendant, PARADISE ISLANDS PIZZA, INC. d/b/a PAPA JOHN'S PIZZA, does

  business in this jurisdiction and may be served with process by mail or in-person to their

  registered agent, Keith Krueger, 392 Beverly Ct, Suite A, Spring Hill, FL 34606. Its main

  address is 5105 Overseas Hwy, Marathon, FL 33050.

                                                  VENUE

           6. Venue is appropriate in the United States District Court for the Southern District of

  Florida, Key West Division, because Plaintiff worked for Defendants in Monroe County, Florida,
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  and a substantial part of the events or omissions giving rise to this lawsuit occurred in Florida, as

  required under 28 U.S.C. § 1391.

                                               JURISDICTION

         7. This Court has original jurisdiction over this action pursuant to 28 U.S.C. § 1331, as

  this case involves a federal question arising under 42 U.S.C. § 1981. The unlawful employment

  practices asserted herein were committed within the jurisdiction of this Court, constituting

  violations of federal law. Furthermore, this Court has supplemental jurisdiction over the

  Plaintiff's state law causes of action pursuant to 28 U.S.C. § 1367, as those causes of action are

  so related to the causes of action in this action under 28 U.S.C. § 1331 that they form part of the

  same case or controversy. The state law causes of action arise from the same facts and are such

  that they would ordinarily be expected to be tried in one judicial proceeding. Thus, this Court

  possesses jurisdiction to adjudicate not only the federal causes of action presented but also the

  related state law causes of action asserted by the Plaintiff.

                                     PROCEDURAL PREREQUISITES

         8. Plaintiff has met all conditions precedent to the filing of this action. Additionally, this

  lawsuit has been filed within the statute of limitations as required under 42 U.S.C. § 1981.

                                                     FACTS

         9. Plaintiff, Y. FRANCO (hereinafter "Plaintiff"), a Hispanic female and United States

  citizen born in Honduras, commenced employment with Defendants on June 20, 2023, as a

  cashier/delivery driver at the Papa John’s location operated by Krueger Pizza Marathon, LLC,

  located at 5105 Overseas Hwy, Marathon, FL 33050.
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          10. During her employment, Plaintiff was subjected to disparate treatment and a hostile

  work environment based on her race, national origin, and/or color, in violation of 42 U.S.C. §

  1981.

          11. Defendant Papa John's International, Inc. is a pizza delivery company under which

  the Marathon, Florida location operates.

          12. Defendant Papa John’s USA, Inc. is a pizza delivery company under which the

  Marathon, Florida location operates.

          13. Defendant Paradise Islands Pizza, Inc. d/b/a Papa John's Pizza operates the Marathon

  location of Papa John’s and is overseen by Keith Krueger.

          14. Defendant Krueger Pizza Marathon, LLC, directly operates the Marathon location of

  Papa John’s and is overseen by Ashley Krueger.

          15. Elson Stuart served as the general manager of the Marathon location for

  approximately 20 years.

          16. Stephanie Delgado was a cashier at the Defendant’s Marathon location. Delgado and

  Stuart were in a personal relationship, which is known among the staff.

          17. On several occasions, Plaintiff was excluded from receiving her fair share of the

  nightly pool of tips, a benefit extended to other employees, who were mostly of African

  American descent. This exclusion was not based on job performance but was racially motivated.

          18. Approximately five individuals of Cuban, Hispanic, or Latin American descent were

  terminated during Plaintiff's employment, suggestive of a pattern of racial discrimination.

  Plaintiff, being Hispanic, was the only non-Black employee during the relevant time,

  highlighting the racially motivated disparate treatment.
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         19. On July 8, 2023, after Plaintiff attempted to deliver pizza orders efficiently to

  customers’ residences, she was met with aggression and hostility upon her return to the store.

  Stuart, exhibiting signs of intoxication, along with Delgado, threatened Plaintiff's employment

  and physically assaulted her. Stuart removed his shirt and hat in a threatening manner, while

  Delgado slapped Plaintiff across the face and destroyed her cell phone by throwing it on the

  ground.

         20. Plaintiff's attempts to document the assault were met with further violence,

  culminating in her calling 911 for assistance. Despite the intervention of law enforcement,

  Plaintiff was instructed not to press charges in the immediate aftermath, highlighting the

  intimidation she faced.

         21. After the altercation, Plaintiff was terminated from her position on July 8, 2023, by

  Stuart, further exacerbating the damages she suffered, including lost wages, emotional distress,

  and the cost of medical treatment for the trauma endured.

         22. Despite Plaintiff’s efforts to seek redress, including contacting the franchise owners,

  Defendants refused to compensate her for the destroyed personal property and unpaid wages.

         23. The police report corroborates Plaintiff’s account, noting Stuart's impairment at the

  scene. Stephanie Delgado was arrested three days later for property damage and destroying

  evidence.

         24. Plaintiff has since undergone medical treatment for emotional distress stemming from

  the incident, incurring substantial expenses.

                  COUNT I: RACIAL DISCRIMINATION UNDER 42 U.S.C. § 1981
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         25. Plaintiff incorporates by reference all preceding paragraphs. Plaintiff Y. FRANCO

  asserts this cause of action against Defendants under 42 U.S.C. § 1981, which prohibits

  intentional race discrimination in employment contracts and practices.

         26. Title 42 U.S.C. § 1981, inter alia, protects at-will employees from employment

  discrimination on the basis of race and national origin because at-will employment in Florida is a

  form of contract. Defendant offered to pay Plaintiff for her work, and Plaintiff accepted that offer

  by performing the work. Thus, the parties entered into a contractual arrangement covered by 42

  U.S.C. § 1981.

         27. Defendants, by their actions as described herein, have violated Plaintiff’s rights under

  42 U.S.C. § 1981 by discriminating against her on the basis of her race. This discrimination

  includes, but is not limited to, disparate treatment in employment conditions, the creation of a

  hostile work environment, physical assault, wrongful termination, and other acts that impaired

  Plaintiff’s right to the full and equal benefit of all laws and proceedings for the security of

  persons and property.

         28. The conduct of Defendants was intentional, willful, and taken in disregard for the

  federally protected rights of Plaintiff. As a direct and proximate result of Defendants’ unlawful

  conduct under 42 U.S.C. § 1981, Plaintiff has suffered economic and non-economic damages,

  including loss of income, emotional distress, and other compensable injuries.

       COUNT II: NATIONAL ORIGIN DISCRIMINATION UNDER 42 U.S.C. § 1981

         29. Plaintiff incorporates by reference all preceding paragraphs. Plaintiff Y. FRANCO

  asserts this cause of action for national origin discrimination under 42 U.S.C. § 1981, which

  prohibits intentional national origin discrimination in employment contracts and practices.
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            30. Plaintiff, being of Honduran national origin, falls within the protections afforded by

  42 U.S.C. § 1981, which extends its protections to the making, performance, modification, and

  termination of contracts, and the enjoyment of all benefits, privileges, terms, and conditions of

  the contractual relationship.

            31. Defendants engaged in actions that discriminated against Plaintiff based on her

  national origin, thereby impairing her right to the full and equal benefit of all laws and

  proceedings for the security of persons and property as protected by 42 U.S.C. § 1981. Such

  discriminatory actions by Defendants include but are not limited to disparate treatment in the

  terms and conditions of employment, creation of a hostile work environment, physical assault,

  destruction of personal property, and wrongful termination, all based on Plaintiff’s national

  origin.

            32. The actions of Defendants were intentional, willful, and purposefully discriminatory,

  and they deprived Plaintiff of her rights under 42 U.S.C. § 1981 to the full and equal benefit of

  all laws and proceedings for the security of persons and property. As a direct and proximate

  result of Defendants’ conduct and violation of 42 U.S.C. § 1981, Plaintiff has suffered and

  continues to suffer substantial damages, including loss of income and benefits, emotional

  distress, pain and suffering, and other compensable losses.

                           COUNT III: NEGLIGENCE UNDER FLORIDA LAW

            33. Plaintiff incorporates by reference all preceding paragraphs and invokes this court’s

  supplemental jurisdiction. Plaintiff Y. FRANCO brings this cause of action for negligence

  against Defendants under the laws of the State of Florida.
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         33. Defendants owed a duty of care to Plaintiff, as an employee, to provide a safe

  working environment that is free from foreseeable harm and risks that could cause injury.

  Defendants breached their duty of care to Plaintiff by failing to:

         a. Adequately supervise and train their employees, including management personnel, to

  prevent acts of violence and aggression in the workplace;

         b. Implement and enforce policies that could have prevented the hostile and aggressive

  behavior that resulted in physical and emotional harm to Plaintiff;

         c. Take reasonable steps to ensure the safety and security of their employees, including

  Plaintiff, from foreseeable acts of assault and battery by other employees or managers.

         As a direct and proximate result of Defendants’ breach of their duty of care, Plaintiff

  suffered physical harm, emotional distress, and economic losses. This includes, but is not limited

  to, the incident on July 8, 2023, where Plaintiff was physically assaulted, resulting in the

  destruction of her personal property and subsequent termination from her employment, which

  was a foreseeable consequence of Defendants' negligence.

         34. Defendants’ negligence was a substantial factor in causing the injuries and damages

  suffered by Plaintiff. Had Defendants exercised reasonable care in supervising their employees,

  enforcing safety policies, and providing a safe working environment, Plaintiff would not have

  suffered the injuries and damages incurred.

         35. Plaintiff has incurred medical expenses, lost wages, lost employment benefits, and

  has suffered pain and suffering, emotional distress, and other compensable damages as a direct

  result of Defendants' negligence.

                            COUNT IV: ASSAULT UNDER FLORIDA LAW
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         36. Plaintiff incorporates by reference all preceding paragraphs. Plaintiff Y. FRANCO

  brings this cause of action for assault against Defendants under the laws of the State of Florida.

         37. On or about July 8, 2023, Stephanie Delgado, acting within the scope of her

  employment and under the direction and control of Defendant Krueger Pizza Marathon, LLC,

  Defendant Paradise Islands Pizza, Inc. d/b/a Papa John's Pizza, and Defendant Papa John's

  International, Inc., committed an act of assault against Plaintiff by intentionally acting and

  threatening to act in a manner that caused Plaintiff to fear imminent physical harm. This conduct

  was without Plaintiff’s consent.

         38. Elson Stuart, also acting within the scope of his employment and under the direction

  and control of Defendant Krueger Pizza Marathon, LLC, Defendant Paradise Islands Pizza, Inc.

  d/b/a Papa John's Pizza, and Defendant Papa John's International, Inc., participated in and

  endorsed the conduct by threatening Plaintiff, thereby contributing to the assault.

         39. Defendants Krueger Pizza Marathon, LLC, Paradise Islands Pizza, Inc. d/b/a Papa

  John's Pizza, and Papa John's International, Inc. are vicariously liable for the actions of their

  employees, Delgado and Stuart, as these actions were carried out within the scope of their

  employment and were directed towards Plaintiff, an employee.

         40. The assault perpetrated was intentional, unprovoked, and a direct violation of

  Plaintiff’s right to be free from fear of imminent harm while in her workplace. As a direct and

  proximate result of Defendants’ assault, Plaintiff suffered, and continues to suffer, physical pain,

  emotional distress, humiliation, fear, and anguish. The assault has also caused Plaintiff to incur

  medical expenses and loss of wages due to her inability to continue working as a result of the

  emotional trauma and fear stemming from the incident.
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                              COUNT V: BATTERY UNDER FLORIDA LAW

          41. Plaintiff incorporates by reference all preceding paragraphs. Plaintiff Y. FRANCO

   brings this cause of action for battery against Defendants under the laws of the State of Florida.

          42. On or about July 8, 2023, Stephanie Delgado, acting within the scope of her

   employment and under the direction and control of Defendant Krueger Pizza Marathon, LLC,

   Defendant Paradise Islands Pizza, Inc. d/b/a Papa John's Pizza, and Defendant Papa John's

   International, Inc., committed an act of battery against Plaintiff by intentionally making harmful

   and offensive contact with Plaintiff. This contact included striking Plaintiff across the face and

   forcibly taking and destroying Plaintiff’s personal property, actions taken without Plaintiff’s

   consent.

          43. Elson Stuart, by his actions and presence, facilitated and endorsed the conduct of

   Delgado, thereby participating in the act of battery against Plaintiff.

          44. Defendants Krueger Pizza Marathon, LLC, Paradise Islands Pizza, Inc. d/b/a Papa

   John's Pizza, and Papa John's International, Inc. are vicariously liable for the actions of their

   employees, Delgado and Stuart, as these actions were carried out within the scope of their

   employment and were directed towards Plaintiff, an employee.

          45. The battery perpetrated by Defendants was unprovoked, intentional, and a direct

   violation of Plaintiff’s right to be free from unauthorized and harmful or offensive physical

   contact. As a direct and proximate result of Defendants’ battery, Plaintiff suffered, and continues

   to suffer, physical injuries, emotional distress, humiliation, and other damages. The battery has

   caused Plaintiff to incur medical expenses and lose wages due to her inability to continue

   working because of the physical and emotional injuries sustained from the incident.
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           COUNT VI: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS (IIED)
                             UNDER FLORIDA LAW


           46. Plaintiff incorporates by reference all preceding paragraphs. Plaintiff Y. FRANCO

   brings this cause of action for intentional infliction of emotional distress against Defendants

   under the laws of the State of Florida.

           47. Defendants’ conduct, including but not limited to the assault, battery, discrimination

   based on race and national origin, creation of a hostile work environment, and wrongful

   termination, was extreme and outrageous, transcending all bounds of decency respected in a

   civilized society.

           48. Defendants, by and through their employees, acted intentionally or recklessly, with

   the deliberate intent to cause Plaintiff emotional distress or with reckless disregard of the

   certainty that such distress would result from their actions. Defendants’ conduct caused Plaintiff

   to suffer severe emotional distress, manifesting in physical symptoms, psychological trauma, and

   necessitating medical and therapeutic treatment. Plaintiff’s emotional distress was a foreseeable

   result of Defendants’ outrageous and intolerable actions.

           49. Defendants Krueger Pizza Marathon, LLC, Paradise Islands Pizza, Inc. d/b/a Papa

   John's Pizza, and Papa John's International, Inc. are vicariously liable for the intentional or

   reckless actions of their employees, including Stephanie Delgado and Elson Stuart, which were

   committed within the scope of their employment and directed toward Plaintiff.

           50. As a direct and proximate result of Defendants’ actions, Plaintiff has suffered, and

   continues to suffer, severe emotional distress, pain and suffering, loss of enjoyment of life, and

   other damages. Plaintiff has incurred and will continue to incur expenses for medical and

   psychological treatment as a result of Defendants’ conduct.
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                          COUNT VII: CONVERSION UNDER FLORIDA LAW

          51. Plaintiff incorporates by reference all preceding paragraphs. Plaintiff Y. FRANCO

   brings this cause of action for conversion against Defendants under the laws of the State of

   Florida.

          52. On or about July 8, 2023, Stephanie Delgado, acting within the scope of her

   employment and under the direction and control of Defendant Krueger Pizza Marathon, LLC,

   Defendant Paradise Islands Pizza, Inc. d/b/a Papa John's Pizza, and Defendant Papa John's

   International, Inc., unlawfully took Plaintiff’s personal property, specifically a cellphone, and

   intentionally destroyed it. This act deprived Plaintiff of her right and possession to her personal

   property.

          53. The actions of Delgado, endorsed and not prevented by Elson Stuart and occurring

   within the scope of their employment, constitute conversion under Florida law as they

   intentionally exerted wrongful control over Plaintiff’s property, thereby depriving Plaintiff of its

   use and possession.

          54. Defendants Krueger Pizza Marathon, LLC, Paradise Islands Pizza, Inc. d/b/a Papa

   John's Pizza, and Papa John's International, Inc. are vicariously liable for the actions of their

   employees, Delgado and Stuart, as these actions were carried out within the scope of their

   employment and were directed toward Plaintiff, an employee.

          55. As a direct and proximate result of Defendants’ conversion of Plaintiff’s personal

   property, Plaintiff has suffered actual damages, including the loss of the property’s value and the

   loss of use of the property. The conduct of Defendants was intentional, willful, and malicious,

   warranting not only compensatory damages but also punitive damages to punish Defendants and

   to deter such conduct in the future.
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                                             PRAYER FOR RELIEF

             WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that Defendant

   be cited to appear and answer, and that on final hearing of this cause, Plaintiff has the following

   relief:

             - Back Pay and Lost Benefits;
             - Pre-Judgment Interest on Back Pay;
             - Front Pay;
             - Compensatory Damages, including, but not limited to, emotional distress;
             - Punitive Damages;
             - Injunctive and Affirmative Relief;
             - Post-Judgment Interest;
             - Attorneys’ Fees and Costs; and
             - Such other and further relief, at law or in equity, general or special, to which Plaintiff
   may show she is justly entitled.
             WHEREFORE, Plaintiff requests damages and reasonable attorneys’ fees from

   Defendants pursuant to 42 U.S.C. § 1981, and any other applicable authority (statute/law, etc.) to

   be proven at the time of trial for all compensatory damages, exemplary damages, and attorneys’

   fees and costs along with any other relief that this Court finds reasonable under the

   circumstances.



                                                    Respectfully submitted,

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